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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                             LAKE CHARLES DIVISION

 IFG PORT HOLDINGS LLC                        §
                                              §
 VERSUS                                       §
                                                       CIVIL ACTION NO. 2:16-CV-00146
                                              §
                                                        JUDGE MICHAEL J. TRUNCALE
 LAKE CHARLES HARBOR &                        §
 TERMINAL DISTRICT D/B/A                      §
 THE PORT OF LAKE CHARLES                     §

   ORDER ON DEFENDANT’S MOTION IN LIMINE TO EXCLUDE EVIDENCE
         THAT IS NOT MATERIAL TO THE MOTION TO VACATE

       Before the Court is Defendant Lake Charles Harbor & Terminal District d/b/a the Port

of Lake Charles (“the Port”)’s Motion in Limine to Exclude Evidence That Is Not Material to

the Motion to Vacate [Dkt. 743]. For the reasons discussed at the Final Pretrial Conference

that the Court held on April 16, 2024, the Court rules on the Port’s Motion as follows:

       A. DENIED

       B. DENIED

       C. DENIED

       D. GRANTED

       It is therefore ORDERED that Defendant’s Motion in Limine to Exclude Evidence

That Is Not Material to the Motion to Vacate [Dkt. 743] is GRANTED IN PART and

DENIED IN PART.

                              SIGNED this 16th day of April, 2024.




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                                                           Michael J. Truncale
                                                           United States District Judge
